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ORIGINAL

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

W.R. GRACE & CO., et al., Case No.: 01-01139 - 01-1200 (JJF)
Jointly Administered

Response Date: May 1, 2001 at 4:00 p.m.
Hearing Date: May 3, 2001 at 8:00 a.m.

Debtors

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MOTION FOR ORDER SHORTENING TIME

Paul Price, individually, and as proposed class representative in In re: Zonolite Attic

Insulation Products Liability Litigation, Multi-District Panel No. 1376 currently pending before

the United States District Court for the District of Massachusetts (Saris, D.J.), (hereinafter the
“ZAI Plaintiffs” or “Plaintiffs”), by and through undersigned counsel, hereby moves this Court
for entry of an order pursuant to Section 102 of Title 11 of the United States Code (the
“Bankruptcy Code”) and Rules 2002 and 9006 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”) providing that notice of the attached Motion for Relief from the
Automatic Stay of Paul Price, Individually and as Proposed Class Representative in Jn re:
Zonolite Attic Insulation Products Liability Litigation, MDL 1376 (the “Motion”) be approved
and shortened in the manner designated below. In support of this motion, the ZAI Plaintiffs
represent as follows:

1. The ZAI Plaintiffs request, by this motion, that the Court exercise its discretion
and enter an order shortening the fifteen-day notice period normally required by Local Rule
4001-1 of the Local Rules of Bankruptcy Practice and procedure of the United States Bankruptcy

Court for the District of Delaware to eight (8) days to enable the matter to be heard at the

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specially scheduled hearing on May 3, 2001, at 8:00 a.m., when the Court will be considering the
Motion for a Preliminary Injunction involving these same parties.

2. The ZAI Plaintiffs are plaintiffs in four federal class-action property damage
lawsuits who seek to (a) notify other homeowners of the presence of ZAI in their homes and the
health risks posed by it, and (b) obtain injunctive relief and an award of sufficient monetary
damages to compensate homeowners for the removal of ZAI from their residences. The lawsuits
have been consolidated into a Multi-District Litigation Proceeding, MDL 1376. Pursuant to the
Motion, the ZAI Plaintiffs seek relief from the stay so that the MDL court can move forward
with the issue of class certification and so that discovery may continue, pursuant to the MDL
Case Management Order, under the supervision of the MDL Court. The class certification issue
has been fully briefed and will have significant impact on the handling of the Debtors bankruptcy
case.

3. The Class Action Plaintiffs believe that sufficient cause exists and that it is in the
best interests of their estates and the creditors to shorten the normal fifteen day notice period so
that the matter can be heard at a date and time that has already been reserved for a hearing
between the same parties on a related issue—specifically, Debtors request for a preliminary
injunction against the prosecution of various actions against the non-Debtor affiliates. This
motion for relief from stay addresses the same issues and essentially serves as the ZAI Plaintiffs
response to the Debtors request for a preliminary injunction. Accordingly, the ZAI Plaintiffs
believe that in the interests of judicial economy and the convenience of the Court and all
interested parties, the Court should resolve both motions as the same time.

WHEREFORE, Certain Class Action Plaintiffs respectfully request that the Court (I)

exercise its discretion and enter an Order approving the form, manner, sufficiency and shortening
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of the notice of the Motion as contemplated hereby such that a hearing on the Motion may be
held on May 3, 2001, at 8:00 a.m., the time reserved for another matter in this bankruptcy
proceeding, with objections, if any, to be filed and served on the undersigned by no later than
4:00 p.m. on May 1, 2001; and (ii) grant such other relief as the Court deems appropriate.

Dated: April 25, 2001
Wilmington, Delaware

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Attorneys for ZAI Plaintiffs

APPROVED AND SO ORDERED this BO ing of Ag 8 , 2001.

The4Honorable Joseph F. Farnan
United States District Court Judge

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W.R. Grace & Co., et al., ) Case No. 01-01139
) (Jointly Administered)
)
Debtors. )

MOTION FOR RELIEF FROM THE AUTOMATIC STAY OF
PAUL PRICE, INDIVIDUALLY AND AS PROPOSED
CLASS REPRESENTATIVE IN IN RE: ZONOLITE ATTIC
INSULATION PRODUCTS LIABILITY LITIGATION, MDL 1376

The Movant, Paul Price, individually, and as proposed class representative in In re:

Zonolite Attic Insulation Products Liability Litigation, Multi-District Panel No. 1376 currently

pending before the United States District Court for the District of Massachusetts (Saris, D.J.),
hereby moves this Court for an Order granting relief from the automatic stay in order to (i) to
enable District Judge Saris, who is sitting by designation by the Multi-District Litigation Panel
on MDL 1376, to conclude proceedings and decide the question whether to certify under Fed. R.
Civ. P. 23 a nationwide class of persons whose property contains Zonolite Attic Insulation, and
(ii) to enable that Court and the parties to resume ongoing, discrete discovery in the Zonolite
Attic Insulation litigation under the supervision of MDL 1376.

Paul Price respectfully requests that the Court grant this Motion for Relief from the
Automatic Stay and for such other and further relief which this Honorable Court deems just and

proper.
DATED:

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April 25, 2001

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(continued on following page)
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Respectfully submitted,

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:

Chapter 11

Case No. 01-01139
(Jointly Administered)

W.R. Grace & Co., et al,

Debtors.

ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

Having considered the Motion for Relief from the Automatic Stay of the Paul Price,
individually and as proposed class representative in In re: Zonolite Attic Insulation Products
Liability Litigation, MDL 1376, and having considered any responses to the Motion, any oral
argument of counsel, and the relevant case law, the Court finds that the requested relief is
warranted.

IT IS HEREBY ORDERED that the Motion for Relief from the Automatic Stay of Paul
Price, individually and as proposed class representative in MDL 1376 is GRANTED and it is
hereby ORDERED that (i) U.S. District Court Judge Saris, sitting by designation by the Multi-
District Litigation Panel on Multi-District Panel Number 1376 shall, by operation of this Order,
be allowed to conclude proceedings concerning and decide the question whether to certify under
Fed. R. Civ. P. 23, a nationwide class of persons whose property contains Zonolite Attic
Insulation, and (ii) that the parties to MDL 1376 shall, under supervision of Judge Saris, be
allowed to resume ongoing, discrete discovery in the Zonolite Attic Insulation matter.

Signed this day of , 2001.

UNITED STATES BANKRUPTCY JUDGE
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CERTIFICATE OF SERVICE

I, William D. Sullivan, hereby certify that on April 25, 2001, I did serve the foregoing:

Motion for Order Shortening Time and Motion For Relief From Stay upon the parties identified

below via facsimile and overnight delivery or hand delivery and on the 2002 Service List via

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Under penalty of perjury, I declare that the foregoing is true and correct.

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Date } !

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William D. Sullivan [an
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